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                                     EXHIBIT B



1.   Short Form for Lynette M/ Buckley
2.   Short Form for Cynthia J. Johnson
3.   Short Form for Sherry I. Maples
4.   Short Form for Vickey W. Maples
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                                          IN RE: OIL SPILL by "Deepwater Horizon"
                                                      DIRECT FILING SHORT FORM 1
                            Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
              (Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
MDL 2179                                                                  SECTION: J                                                 JUDGE CARL BARBIER

      CLAIM IN LIMITATION—JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
               IN MASTER COMPLAINTS — PLAINTIFF/CLAIMANT PROFILE FORM
    By submitting this document, I am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
    aL, No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
    Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
    [Rec. Doc. 879] for private economic losses ("B1 Bundle") filed in MDL No. 2179 (10 md 2179); and/or intervene
    into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries ("B3 Bundle")
    filed in MDL No. 2179 (10 md 2179).


    Last Name                                             First Name                                    Middle Name/Maiden                             Suffix
              Buckley                                        Lynette                                         Maples
    Phone Number           228-408-1212                                                 E-Mail Address


    Address     359 Tatum Camp Rd                                                      City / State / Zip     Purvis, MS 39475

    INDIVIDUAL CLAIM                                x
                                                   LI                                   BUSINESS CLAIM                                LI
    Employer Name                                                                       Business Name


    Job Title / Description                                                            Type of Business


    Address                                                                            Address


    City / State / Zip                                                                  City / State / Zip


    Last 4 digits of your Social Security Number                                        Last 4 digits of your Tax ID Number


    Attorney Name                                                                       Firm Name
                           F. Gerald Maples                          F. Gerald Maples, P.A.
    Address              365 Canal Street; Suite2650 City / State / Zip New Orleans, LA 70130
    Phone Number         (504) 569-8732                                                 E-Mail Address       federal@fgmapleslaw.com

    Claim filed with BP?
                                      YES •
                                                                                        Claim Filed with GCCF?:         YES      X             NO
                                                              NO
    If yes, BP Claim No.:                                                               If yes, Claimant Identification No.:     1102118

    Claim Type (Please check all that apply):
    •      Damage or destruction to real or personal property                            0         Fear of Future Injury and/or Medical Monitoring
    •      Earnings/Profit Loss                                                          •         Loss of Subsistence use of Natural Resources
    0      Personal Injury/Death                                                         •         Removal and/or clean-up costs
                                                                                         •X        Other:    Loss of Deposit on Property



1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130,           in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.
                                                                                         1

          The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description:

     For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
     involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
     damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

       I placed a $5,000 deposit on a condominium I was in the process of
       buying at the time of the spill and lost the money upon canceling the
       sale.




2.   For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
     employers 2008 to present and complete authorization forms for each.




3.   For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
     employer, and where you were working.




                                                                         2

     The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)
    C] 1.      Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
               crabbing or oystering.

    El 2.      Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

    O   3.     Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
               fishing business who earn their living through the use of the Gulf of Mexico.

    LI 4.      Commercial business, business owner, operator or worker, including commercial divers offshore oilfield service, repair and
               supply, real estate agents, and supply companies, or an employee thereof.

    O   5.     Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

    El 6.      Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

    CI 7       Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
               lessees of oyster beds.

    1:1 8.     Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

    ID 9.      Bank, financial institution, or retail business that suffered losses as a result of the spill.

    O   10.    Person who utilizes natural resources for subsistence.

    OX 11. Other: Loss of Purchase deposit on condominium

Post-Explosion Personal Iniury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
    C] 1.      Boat captain or crew involved in the Vessels of Opportunity program.

    O   2.     Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

    ID 3.      Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
               odors and emissions during post-explosion clean-up activities.

    CI 4.      Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

    O   5.     Resident who lives or works in close proximity to coastal waters.

    O   6.     Other:



Both BP and the Gulf Coast Claims Facility ("GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as "Confidential Access Restricted" under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.



 Claimant or Attorney Signature

  F. Gerald Maples
 Print Name

   04/16/2012
 Date




                                                                             3

    The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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      Johnson                 Cynthia               J.
          504-444-3012                           cjohnson361@cox.net
     3710 Dumaine Street, Apt. A                   New Orleans, LA 70119




          Live Oak Fine Wines




                      xxx-xx- 2503
         F. Gerald Maples                      F. Gerald Maples, P.A.
        365 Canal Street;Suite 2650             New Orleans, LA 70130

        (504) 569-8732                          federal@fgmapleslaw.com
                                                            X
                                                           1124831


X
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I was operating a new business, Live Oak Fine Wines, for
approximately eight months before the Oil Spill. The business was a
wine distributorship servicing restaurants in the area. Due to the
oil spill restaurants were losing business and were not buying wine.
My business closed shortly thereafter.
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  x




F. Gerald Maples


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    Maples                 Sherry                   I
        228-861-3165                              jsmaples@cableone.net
     9153 Copperwood LAne                          Gulfport, MS 39503

                     X




    Same as above


                         xxx-xx-8107

       F. Gerald Maples                        F. Gerald Maples, P.A.
       365 Canal Street; Suite 2650              New Orleans, LA 70130

        (504) 569-8732                          federal@fgmapleslaw.com

                                                           X

                                                           0115364

X
x
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 I lost the use of and the income provided by my vacation condominium
 in Orange Beach, AL due to the Oil Spill. The value of my property
 was diminshed by the spill due to the loss of tourism and the
 depreciation of property in the area. The condominium was inundated
 with noxious fumes from the spill which made use of the condo by my
 family impossible and also prevented me from renting the property.
 The property is located at 25350 Perdido Boulevard in Orange Beach,
 AL, 36561. (Unit 202).




While at my condominium on June 13 & 14 I suffered burning eyes and
nose. I developed a hoarseness in my throat, heaviness in the chest
and headaches. I was advised not to use my condominium by my
physician.
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  X




F. Gerald Maples


April 16, 2012
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    Maples                  Vickey                   W
              504-908-4898
             437 Focis Street                      Metairie, LA 70005

                        X

             Litigation Projects
               President/owner




                            5102

             F. Gerald Maples
        365 Canal Street; Suite 2650                  New Orleans, LA 70130
             504-569-8732                          federal@fgmapleslaw.com
                                                              X
                                                              3223955



x
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I invested $20,000 in a new wine distributorship, Live Oak Fine Wines.
The business was less that 1 year old when the oil spill struck. The
primary customers for this distributor were restaurants. When business
took a downturn the restaurants stopped ordering wine and the
distributorship went out of business. I lost my entire investment.
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X         investor in wine distributorship.




    F. Gerald Maples


April 16, 2012
